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 1   NICOLA T. HANNA
     United States Attorney
 2   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
 3   Chief, Criminal Division
     ANDREW BROWN (Cal. Bar No. 172009)
 4   Assistant United States Attorney
     Major Frauds Section
 5        1100 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-0102
 7        Facsimile: (213) 894-6269
          E-mail:    andrew.brown@usdoj.gov
 8   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
 9

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,              No. CR 18-834-AB

13             Plaintiff,                   GOVERNMENT’S UNOPPOSED MOTION TO
                                            DISMISS INFORMATION AND
14                   v.                     COMPLAINT

15   JEFFREY CRAIG YOHAI,

16             Defendant.

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18         Pursuant to Federal Rule of Criminal Procedure 48, the
19   government seeks leave of the Court to dismiss the information and
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 1   complaint in this case without prejudice.

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 3   Dated: March 13, 2019               Respectfully submitted,
 4                                       NICOLA T. HANNA
                                         United States Attorney
 5
                                         LAWRENCE S. MIDDLETON
 6                                       Assistant United States Attorney
                                         Chief, Criminal Division
 7
                                         Andrew Brown
 8
                                         ANDREW BROWN
 9                                       Assistant United States Attorney
10                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
11

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